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Rikers Island inmate indicted after attacking
3 officers

BY BEN KOCHMAN
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Matthew Whittington, 26, has been indicted for
attacking three New York City Department of
Correction officers. (BRONX DISTRICT ATTORNEY)

A Rikers Island inmate has been indicted for attacking three correction officers — sending one to the hospital with a massive
slash wound on his arm, authorities said Thursday.

Matthew Whittington, 26, sucker-punched Officer Malik Medina as he retrieved the prisoner’s breakfast tray from his cell at
the jail’s West Facility on Aug. 7, the Bronx District Attorney's Office said.

The blow knocked Medina unconscious.

When Qfficer Corey Hughes heard Medina’s hit the ground and went over to help, Whittington whipped out a scalpel and
slashed him across the right arm, authorities said.

The wound required 16 stitches, the DA said.

Officers punched Whittington in the face several times, internal jail records show. They later discovered a scalpel blade

wrapped in black electrical tape in front of the cell.

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The night before, Whittington — who jail sources say is a ranking member of the Bloods gang — had punched a third

correction officer, causing him to hit his face on a cell door, authorities said.

 

Officer Corey Hughes required 16 stitches after
being slashed by Whittington. (HANDOUT)

Whittington pleaded not guilty in Bronx Supreme Court Thursday to
assault, weapons possession and promoting contraband charges. He
faces up to seven years in prison if convicted.

The alleged jail menace has been at Rikers for three years, facing
several charges, including assault and arson, for incidents in
Manhattan, the Bronx and Brooklyn.

Rikers bosses have long struggled to stop contraband from getting into
the city's main jail complex. In May, a 17-person crew of inmates,
correction officers and even a jail cook were indicted for allegedly
running a ring sneaking drugs and weapons into Rikers.

The charges come as Mayor de Blasio was expected to announce
Thursday that an elite group of jail officers would be armed with Tasers
in a bid to reduce violence at the jail.

Bronx DA Darcel Clark, who has pledged to open an office on Rikers
aimed at speeding up justice there, called Whittington's attacks
“vicious” and "unprovoked."

“Our public servants should not have to face danger when they go to
work each day," Clark said in a statement announcing the charges. "We
will not tolerate jailhouse violence.”

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